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                                                         United States District Court
                                                           Southern District of Texas

                                                               ENTERED
                                                          December 12, 2017
                                                           David J. Bradley, Clerk
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two potential tag-along actions oppose inclusion of their actions in centralized proceedings.
Plaintiffs in one potential tag-along action oppose centralization.

        On the basis of the papers filed and the hearing session held, we find that centralization under
Section 1407 in the Northern District of Georgia will serve the convenience of the parties and
witnesses and promote the just and efficient conduct of this litigation. These actions—all of which
are putative nationwide and/or statewide consumer class actions3—share factual issues concerning
the recent cybersecurity incident involving Equifax in which the personally identifiable information
of more than 145 million consumers was compromised. Centralization will eliminate duplicative
discovery, prevent inconsistent pretrial rulings on class certification and other issues, and conserve
the resources of the parties, their counsel, and the judiciary.

         Plaintiffs in one District of Maryland potential tag-along action oppose centralization—the
only parties to do so. They argue that there is a deep circuit split on the issue of Article III standing,
making centralization before rulings on motions to dismiss inefficient. Similar arguments were
advanced by plaintiffs arguing in favor of centralization in particular districts with precedent
favorable to plaintiffs on the issue of Article Ill standing. We are not persuaded by these arguments.
Transferee courts consider a wide variety of legal issues that are subject to differing precedent in
their transferor courts. Moreover, the Panel does not consider the possible implications with respect
to standing or other potential rulings when it selects atransferee district. See In re: Payment Card
Interchange Fee & Merchant Discount Antitrust Litig., MDL No. 1720, 2017 WL 4582708 at * 1
(J.P.M.L. Aug. 2, 2017) (“Section 1407 does not empower the MDL Panel to decide questions going
to the jurisdiction or the merits of a case, including issues relating to a motion to remand.”) (citing
hi relvy, 901 F.2d 7,9 (2d Cir. 1990)).

         Plaintiffs in a few actions request exclusion of their actions from centralized proceedings,
variously arguing, inter alia, that they assert unique claims and informal coordination is feasible.4
Plaintiffs in one action also argue that their motion for a temporary restraining order is pending.
Further, plaintiffs in one action ask the Panel to sever and remand part of their privacy invasion
claim, which they argue is straightforward. These arguments are not convincing. Section 1407
“does not require a complete identity of common factual issues or parties as a prerequisite to transfer,
and the presence of. differing legal theories is not significant where, as here, the actions still arise
                      . .


from a common factual core.” See hire: Auto BodyShopAntitrustLitig., 37 F. Supp. 3d 1388, 1390
(J.P.M.L. 2014). Here, the substantial factual overlap among all actions, including those in which


          Although the Section 1407 motions before the Panel do not include any actions asserted
by financial institutions, such claims are asserted in a number of the potential tag-along actions. Any
objections to their inclusion in centralized proceedings would come before the Panel should any
involved party oppose their conditional transfer. See Panel Rules 7.4 and 7.5.

          Arguments advanced by potential tag-along plaintiffs opposing inclusion of their actions
in centralized proceedings will be considered in due course through the conditional transfer order
process, as these actions are not now before the Panel.
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plaintiffs seek exclusion, is undeniable, and any slight variations in the claims alleged is immaterial
to the benefits to be had from centralized proceedings. Given the scope of this nationwide litigation,
informal coordination with some cases would be unworkable here. Furthermore, the Panel cannot
sever and remand only part of a claim. See 28 U.S.C. § 1407(a) (“[T]he panel may separate any
claim, cross-claim, counter-claim, or third-party claim. . . .“). Finally, plaintiffs’ motion for a
temporary restraining order has been denied.

        Some financial institution plaintiffs in a potentially-related action request that actions filed
by financial institutions not be consolidated, but rather centralized with the other related actions, and
that a separate track be created for these actions, but the Panel has left to the transferee court “the
extent and manner of coordination or consolidation” of actions in an MDL. See In re: Cook Med.,
Inc., Pelvic Repair Sys. Prods. Liab. Litig., 949 F. Supp. 2d 1373, 1375 (J.P.M.L. 2013).

         We select the Northern District of Georgia as the transferee district for this litigation.
Equifax is headquartered in that district, and relevant documents and witnesses thus likely will be
found there. Selection of the district is supported by defendants and the vast majority of responding
plaintiffs. Far more actions are pending in this district than in any other court in the nation. We are
assigning the litigation to an experienced transferee judge who we are confident will steer this
litigation on a prudent course.

         IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Georgia are transferred to the Northern District of Georgia , and, with the
consent of that court, assigned to the Honorable Thomas W. Thrash for coordinated or consolidated
pretrial proceedings.


                                         PANEL ON MULTIDISTRICT LITIGATION



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                                                         Lj4arjorie 0. Rendell
                                                              Acting Chair

                                        Carles R. Breyer                 R. David Proctor
                                        Catherine D. Peny



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IN RE: EQUIFAX, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                          MDL No. 2800


                                     SCHEDULE A


           Northern District of Alabama

     PANTAZE v. EQUIFAX INFORMATION SERVICES LLC, C.A. No. 2:17-01530
     OSTOYA, ET AL. v. EQUIFAX, INC., C.A. No. 2:17-01550
     WALKER, ET AL. v. EQUIFAX, INC., C.A. No. 5:17-01527
     HIGHFIELD v. EQUIFAX, INC., ET AL, C.A. No. 5:17-01567

           Western District of Arkansas

     GRAY, ET AL. v. EQUWAX INFORMATION SERVICES, LLC., C.A. No. 6:17-06095

           Central District of California

     RAFFIN v. EQUIFAX, INC., CA. No. 2:17-06620
     BANDOH AIDOO v. EQUIFAX, INC., C.A. No. 2:17-06658
     JOOF, ET AL. v. EQUIFAX, INC., C.A. No. 2:17-06659
     TADA, ET AL. v. EQUIFAX, INC., C.A. No. 2:17-06666
     SCOTT v. EQUIFAX, INC., C.A. No. 2:17-067 15
     FAILLACE v. EQUIFAX, INC., C.A. No. 2:17-06721
     MCSHAN, ET AL. v. EQUIFAX, INC., ET AL., C.A. No. 2:17-06764
     BARKER v. EQUIFAX, INC., ET AL., C.A. No. 8:17-01560
     COLLINS v. EQUIFAX, INC., C.A. No. 8:17-01561
     AVISE v. EQUIFAX, INC., C.A. No. 8:17-01563
     DURAN, ET AL. v. EQUIFAX, INC., ET AL., C.A. No. 8:17-01571

           Eastern District of California

     MILLER, ETAL. v. EQUIFAX, INC., ETAL., C.A. No. 2:17-01872
     MYERS, ET AL. v. EQUIFAX, INC., C.A. No. 2:17-0 1878

           Northern District of California

     SPICER v. EQUIFAX, INC., ET AL, C.A. No. 5:17-05228
     ALEXANDER v. EQUIFAX, INC., C.A. No. 5:17-05230
     BELDEN v. EQUIFAX, INC., C.A. No. 5:17-05260
     MURPHY, ET AL. v. EQUIFAX, INC., C.A. No. 5:17-05262
     GALPERN v. EQUIFAX, INC., ET AL., C.A. No. 5:17-05265
     SALINAS, ET AL v. EQUIFAX, INC., C.A. No. 5:17-05284
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      Southern District of California

GERSTEN, ETAL. v. EQUIFAX, INC., C.A. No. 3:17-01828
DREMAK v. EQUIFAX, INC., C.A. No. 3:17-0 1829
TANKS, ET AL. v. EQUIFAX, INC., C.A. No. 3:17-01832
VONWILLER v. EQUIFAX INFORMATION SERVICES, LLC, C.A. No. 3:17-01839
SEYMORE, ET AL. v. EQUIFAX, INC., C.A. No. 3:17-01871

      District of Colorado

MORRIS v. EQUIFAX, NC., C.A. No. 1:17-02 178

      District of District of Columbia

SANTAMAURO v. EQUIFAX, NC., C.A. No. 1:17-0 1852

      Northern District of Georgia

MCGONNIGAL v. EQUIFAX, INC., C.A. No. 1:17-03422
CARY, ET AL v. EQUIFAX, NC., C.A. No. 1:17-03433
KUSS v. EQUIFAX, ll’JC., C.A. No. 1:17-03436
KEALY, ET AL. v. EQUIFAX, INC., C.A. No. 1:17-03443
RUSCITTO v. EQUIFAX, INC., C.A. No. 1:17-03444
LAPTER, ET AL. v. EQUIFAX, NC., C.A. No. 1:17-03445
MANAHER v. EQUIFAX, NC., CA. No. 1:17-03447
SAMSON v. EQUIFAX, INC., C.A. No. 1:17-03448
WOLF v. EQUIFAX, INC., C.A. No. 1:17-03450
WASHBURN, ET AL. v. EQUIFAX, NC., C.A. No. 1:17-03451
FIORE v. EQUIFAX, INC., C.A. No. 1:17-03456
LIPCHITZ v. EQUIFAX, NC., C.A. No. 1:17-03457
MARTN v. EQUIFAX, INC., CA. No. 1:17-03458
MENZER v. EQUIFAX, INC., CA. No. 1:17-03459
PAGLIARULO v. EQUIFAX, INC., C.A. No. 1:17-03460
PUGLIESE v. EQUIFAX, INC., C.A. No. 1:17-03461
PAVESI, ET AL. v. EQUIFAX, INC., C.A. No. 1:17-03476
BOIJNDY, ET AL. v. EQUIFAX, INC., C.A. No. 1:17-03480
BEEKMAN, ET AL. v. EQUIFAX, NC., C.A. No. 1:17-03492

      Northern District of Illinois

NEILAN v. EQUIFAX, INC., CA. No. 1:17-06508
LANG, ET AL. v. EQUIFAX NFORMATION SERVICES, LLC, CA. No. 1:17-06519
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      Southern District of Indiana

KING v. EQUIFAX, INC., C.A. No. 1:17-03 157

      District of Kansas

HOUSE v. EQUIFAX, INC., C.A. No. 2:17-02523

      Eastern District of Kentucky

ANDERSON v. EQUIFAX, INC., CA. No. 2:17-00156
TOMLIN, ET AL. v. EQUIFAX INFORMATION SERVICES, LLC,
     C.A. No. 2:17-00158

      District of Maryland

GALLANT v. EQUIFAX, INC., C.A. No. 8:17-02712

      District of Massachusetts

COLE v. EQUIFAX, INC., C.A. No. 1:17-11712
SKYE v. EQUIFAX, INC., C.A. No. 1:17-11742

      Eastern District of Michigan

CHERNEY, ET AL. v. EQUIFAX, INC., C.A. No. 2:17-12966

       District of Minnesota

AMADICK, ET AL. v. EQUIFAX INFORMATION SERVICES, LLC,
    CA. No. 0:17-04196

       Northern District of Mississippi

BYAS, ET AL. v. EQUIFAX, INC., C.A. No. 4:17-00130

       Western District of Missouri

KRAWCYK v. EQUIFAX, INC., C.A. No. 4:17-00760
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      District of Nevada

KNEPPER v. EQUIFAX INFORMATIONSERVICES, LLC, C.A. No. 2:17-02368
MCCALL, ET AL. v. EQUIFAX INFORMATION SERVICES, LLC,
     C.A. No. 2:17-02372

      District of New Jersey

KENDALL v. EQUIFAX INFORMATION SERVICES, LLC, C.A. No. 1:17-06922
DOWG1N v. EQIJIFAX, INC., C.A. No. 1:17-06923
CHRISTEN, ET AL v. EQUIFAX, INC., C.A. No. 1:17-0695 1
FRIEDMAN, ET AL. v. EQUIFAX, INC., ET AL, C.A. No. 1:17-07022
ZAMORA v. EQUIFAX, INC., ET AL., C.A. No. 1:17-07085

     District of New Mexico

KILGORE, ET AL. v. EQUIFAX INFORMATION SERVICES LLC,
     C.A. No. 1:17-00942

     Eastern District of New York

GROSSBERG, ET AL. v. EQUIFAX, INC., C.A. No. 1:17-05280
LEVY v. EQUIFAX INFORMATION SERVICES, LLC, ET AL., C.A. No. 1:17-05354
ZWEIG v. EQUIFAX, INC., CA. No. 1:17-05366
JORGE, ET AL. v. EQUIFAX, INC., C.A. No. 2:17-05404

     Southern District of New York

TIRELLI, ET AL. v. EQUIFAX INFORMATION SERVICES, LLC,
      C.A. No. 7:17-06868
DAVIS, ET AL. v. EQUIFAX, INC., C.A. No. 7:17-06883
BITTON v. EQUIFAX INFORMATION SERVICES, LLC, ET AL.,
      C.A. No. 7:17-06946

     Northern District of Ohio

TORREY v. EQUIFAX INFORMATION SERVICES, LLC, C.A. No. 1:17-01922

     Southern District of Ohio

GERSTEIN, ET AL. v. EQUIFAX INFORMATION SERVICES LLC,
     C.A. No. 1:17-00593
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      Northern District of Oklahoma

BAHNMAIER v. EQUIFAX, INC., C.A. No. 4:17-00512


      Western District of Oklahoma

GIBSON, ET AL. v. EQUIFAX, INC., C.A. No. 5:17-00973

      District of Oregon

MCHILL, ET AL. v. EQUIFAX, INC., C.A. No. 3:17-0 1405

      Eastern District of Pennsylvania

AUSTIN v. EQUIFAX, INC., ET AL., C.A. No. 2:17-04045
CAPLAN v. EQUIFAX INFORMATION SERVICES, LLC, C.A. No. 2:17-04055
MANN v. EQUIFAX INFORMATION SERVICES LLC, C.A. No. 2:17-04100
HENSLEY v. EQUIFAX, INC., ET AL., C.A. No. 5:17-04105

      Western District of Pennsylvania

DERBY v. EQUIFAX, INC., C.A. No. 2:17-01186

      Middle District of Tennessee

MARTIN v. EQUIFAX; INC., C.A. No. 3:17-0 1246

      Eastern District of Texas

LYNCH, ET AL v. EQUIFAX, INC., C.A. No. 4:17-00640

      Southern District of Texas

COLLINS v. EQUIFAX, INC., C.A. No. 1:17-00187

      District of Utah

PARTRIDGE, ET AL. v. EQUIFAX, INC., ET AL, C.A. No. 2:17-01017

      Western District of Washington

PAVITT, ET AL. v. EQUIFAX, INC., C.A. No. 2:17-01363
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      Eastern District of Wisconsin

MALONEY v. EQUIFAX, INC., C.A. No. 2:17-01238

      Northern District of West Virginia

RICE, ET AL. v. EQUIFAX, INC., CA. No. 1:17-00156
